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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
      Plaintiff                            )  Criminal No. SAG-19-CR-0500
                                           )
V.                                         )
                                           )
JONATHAN WILLIAM WALL,                     )
      Defendant                            )
__________________________________________)

  BRIEF IN SUPPORT OF DEFENDANT’S UNOPPOSED MOTION TO EXCUSE LOCAL
       COUNSEL FROM FURTHER APPEARANCES AT HEARINGS OR TRIAL

       NOW COMES the Defendant, Jonathan William Wall, by counsel, and states as follows:

       This Motion is being filed out of both an abundance of caution and respect for Court

process. LR 201(1)(b) states: “The Court may permit any attorney who is an active member in

good standing of the bar of any other United States court or of the highest court of any state to

appear and participate as counsel in a particular criminal case. Such permission shall not

constitute formal admission to the Bar of this Court. However, an attorney admitted pro hac vice

is subject to the disciplinary jurisdiction of this Court. Any party represented by an attorney who

has been admitted pro hac vice must also be represented by an attorney who is, and continuously

remains, an active member in good standing of the Bar of this Court who shall sign all

documents and, unless excused by the presiding judge, be present at any court proceedings.”

       1. The undersigned is appearing pro hac vice in this matter. J. Wyndal Gordon is local

           counsel for the Defendant. The Motion to appear pro hac vice was granted 9/23/20.

           [Docket No. 121.]

       2. The undersigned is an experienced criminal defense attorney in both the state and

           federal courts in his home state of Colorado where he has built a reputation as a trial



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           lawyer and lead counsel in high profile cases in and out of Colorado, ranging from

           first degree murder to financial crimes to drugs to asset forfeiture and gang-related

           RICO indictments that involved a wide range of co-defendants with all of the

           incumbent evidentiary issues.

       3. He has been lead counsel in numerous complex felony trials; and, in the civil context,

           civil rights class actions.

       4. He has argued hundreds of motions hearings in both state and federal court.

       5. His experience in criminal defense going beyond the United States criminal justice

           system to international issues, specifically, due process in the extradition context and

           comparative law, representing clients in Latin America.

       6. He is licensed in numerous federal courts across the country while consistently and

           actively practicing in New Mexico, Colorado, and Washington, D.C.

       7. He has never been sanctioned by any court or ethics committee.

       8. He has read and familiarized himself with the Local Rules of this District.

       9. The Defendant, like so many, has been waiting for process for months and Mr.

           Gordon has business outside of Baltimore On May 3, 2021. Excusing local counsel

           would allow local counsel to focus on other matters in his practice and would allow

           the Defendant and the Government to move forward in a case that has experienced

           delay due to the epidemic.

       10. Justice, equity, and the rights of the Defendant respectfully support the granting of

           this unopposed motion.

       WHEREFORE, the Defendant respectfully requests that local counsel be excused from

further appearances at hearings or at any trial that may be held in this case.



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                               Respectfully submitted this 19th day of April, 2021.

                                       s/Jason Flores-Williams, Esq.
                                       1851 Bassett St., #509
                                       Denver, CO 80202
                                       Phone: 303-514-4524
                                       Email: Jfw@jfwlaw.net
                                       Counsel for Defendant Wall

                                       s/J Wyndal Gordon
                                       J Wyndal Gordon
                                       THE LAW OFFICE OF J. WYNDAL GORDON, P.A.
                                       20 South Charles Street, Suite 400
                                       Baltimore, MD 21201
                                       14103324121
                                       Fax: 14103473144
                                       Email: jwgaattys@aol.com



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the within document with the Clerk
of the Court using the CM/ECF system which will send notification of such filing(s) to all
counsel of record.


                                                      /s/ Jason Flores-Williams
                                                      Jason Flores-Williams




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